        Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 1 of 14



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            ATHENS DIVISION

STEPHEN R. COLLETT and FELICITY           *
COLLETT,
                                          *
       Plaintiff,
                                          *
vs.
                                                      CASE NO. 3:18-CV-66 (CDL)
                                          *
OLYMPUS OPTICAL CO. and ADVANCED
STERILIZATION PRODUCTS,          *

       Defendants.                        *


                                  O R D E R

       Stephen    Collett      alleges        that     he    contracted      human

immunodeficiency      virus    (HIV)     from    an    improperly    disinfected

colonoscope that was manufactured by Olympus Optical Co. and

disinfected with CIDEX, a disinfectant manufactured by Advanced

Sterilization Products (“ASP”).               Stephen’s wife Felicity later

contracted HIV.       Plaintiffs brought claims against Defendants

for negligence, design defect, manufacturing defect, failure to

warn, fraudulent misrepresentation, fraudulent concealment, and

negligent misrepresentation.             ASP filed a motion to dismiss,

arguing that Plaintiffs’ claims are barred by the applicable

statute of limitations and that Plaintiffs’ Amended Complaint

does    not   adequately      allege     fraudulent      misrepresentation     or

fraudulent concealment.        As discussed below, the motion (ECF No.

18)    is   denied.   Also     pending    before      the   Court   is   Olympus’s
        Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 2 of 14



recently        filed     motion       to    dismiss     for     lack    of        personal

jurisdiction.           That motion is not yet ripe, and the Court will

address it in a separate order.

                           MOTION TO DISMISS STANDARD

      “To survive a             motion to dismiss” under Federal Rule of

Civil Procedure 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’”                   Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)).          The complaint must include sufficient factual

allegations “to raise a right to relief above the speculative

level.”        Twombly, 550 U.S. at 555.              In other words, the factual

allegations must “raise a reasonable expectation that discovery

will reveal evidence of” the plaintiff’s claims.                             Id. at 556.

But “Rule 12(b)(6) does not permit dismissal of a well-pleaded

complaint simply because ‘it strikes a savvy judge that actual

proof    of     those    facts    is    improbable.’”          Watts    v.    Fla.    Int’l

Univ., 495 F.3d 1289, 1295 (11th Cir. 2007) (quoting Twombly,

550 U.S. at 556).

      ASP asserts that in considering its motion to dismiss, the

Court    should     take        judicial     notice    of   and    consider         several

articles and regulatory materials regarding the sterilization of

medical devices to prevent HIV, including materials submitted to

the     U.S.     Food     and    Drug       Administration      during       the     510(k)


                                              2
         Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 3 of 14



regulatory process and articles on the potential for infection

due to improper sterilization of dental and medical equipment.

In most cases, the Court cannot consider matters outside the

pleadings in ruling on a Rule 12(b)(6) motion to dismiss unless

the court converts the motion to one for summary judgment under

Rule 56.        Fed. R. Civ. P. 12(d).              “[A] document attached to a

motion     to    dismiss    may   be   considered        by   the    court    without

converting the motion into one for summary judgment only if the

attached document is: (1) central to the plaintiff’s claim; and

(2) undisputed.”           Horsley v. Feldt, 304 F.3d 1125, 1134 (11th

Cir. 2002).       The articles and regulatory materials ASP submitted

are not central to Plaintiffs’ claims, and the Court declines to

consider them.

      ASP argues      that the Court “may take judicial notice of

certain facts without converting a motion to dismiss into a

motion for summary judgment.”                  Horne v. Potter, 392 F. App’x

800, 802 (11th Cir. 2010) (per curiam).                   That is true in some

cases and for some types of documents.                   In Horne, for example,

the   district      court    properly    took        judicial    notice      of   court

documents from the plaintiff’s first employment discrimination

action to determine whether her second action was barred by res

judicata.       Id.; see Billingsea v. Graphic Packaging Int’l, Inc.,

No. 5:13-CV-16 (CAR), 2013 WL 2156473, at *2 (M.D. Ga. May 17,

2013)     (taking    judicial     notice       of    documents      filed    in   prior


                                           3
      Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 4 of 14



judicial proceedings); see also Canal Indem. Co. v. Richardson,

No. 5:14-CV-431 (WLS), 2015 WL 13449666, at *1 (M.D. Ga. Apr. 1,

2015) (taking judicial notice of state court docket).              And in

Oxford Asset Management, Ltd. v. Jaharis, 297 F.3d 1182 (11th

Cir. 2002), the Eleventh Circuit stated that “[i]n a motion to

dismiss a securities action, a court may consider the contents

of public disclosure documents which are required to be filed

with the SEC and are actually so filed.”            Id. at 1188; accord

Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1279 (11th Cir.

1999); see also U.S. ex rel. Osheroff v. Humana Inc., 776 F.3d

805, 811 (11th Cir. 2015) (finding that the district court did

not err in considering judicially noticed newspaper articles in

determining whether the plaintiff’s complaint failed to state a

claim based on the False Claims Act’s public-disclosure bar).

This case is not remotely factually similar to any of the cases

ASP cited in support of its motion for judicial notice.                Here,

ASP is asking the Court to consider articles and regulatory

materials   and   conclude   as   a   matter   of   law,   based   on    the

existence of those materials, that Plaintiffs did not exercise

reasonable diligence in investigating their claims.             The Court

finds that it would be inappropriate to depart from Rule 12(d)’s

conversion rule in this case and therefore denies ASP’s motion

for judicial notice (ECF No. 19).




                                      4
       Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 5 of 14



                              FACTUAL ALLEGATIONS

      Plaintiffs allege the following facts in support of their

claims.     The Court must accept these allegations as true for

purposes of the pending motion.

      Stephen Collett underwent a routine colonoscopy with Dr.

Jeffery    Williams    in     October    2011.       The    patient    who       had   a

colonoscopy    before    Stephen     had     a    polyp    removed;    after      that

procedure, the colonoscope was disinfected with CIDEX.                           Then,

the colonoscope was used for Stephen’s procedure, and Stephen

had a polyp removed.

      Several weeks after the colonoscopy, Stephen sought medical

treatment for fever, night sweats, muscle pain, sore joints, and

a   skin   rash.      There    is   no   allegation        that   Stephen    tested

positive for HIV at that time, and there is no allegation that

Stephen connected (or had reason to connect) his symptoms to the

routine colonoscopy.          In 2013, Stephen sought medical treatment

for breathing issues.         On July 22, 2013, Stephen tested positive

for HIV.    Felicity was then tested for HIV, and she also tested

positive.      “Plaintiffs       were    completely        shocked    by    the    HIV

diagnosis and were unable to determine any possible source of

the infection.”       Am. Compl. ¶ 30, ECF No. 11.                Both Plaintiffs

“extensively       reviewed      [their]         medical    history        and     the

information available to [them] in order to determine a source

of the infection,” but they “were unable to determine the source


                                         5
         Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 6 of 14



of    their    infection.”           Id.    ¶¶ 31-33.             Stephen   continued    to

receive medical treatment from Dr. Williams, and Dr. Williams

never told him that the colonoscope could have been the source

of the infection.

       In 2017, Stephen’s dentist told him about the research of

Dr.    David    Lewis,       who    had     investigated          the    transmission    of

pathogens via flexible colonoscopes.                     Stephen met with Dr. Lewis

on March 21, 2017.           Based on the information Dr. Lewis provided

to Stephen, Plaintiffs determined that the cause of the HIV

infection was the transmission of HIV from a prior patient via

the unclean Olympus colonoscope that had been disinfected with

ASP’s CIDEX product.               This was “the first time that Plaintiffs

had any indication of the source of their infection.”                            Id. ¶ 38.

       Plaintiffs        assert           that        Olympus’s         colonoscope     was

defectively designed and manufactured and that Olympus knew that

its colonoscope could cause cross-contamination and the spread

of infectious disease.               Plaintiffs further claim that Olympus

failed    to    instruct      colonoscope            users   of    proper   sterilization

methods.        Plaintiffs         also    allege      that   CIDEX      was    defectively

designed and manufactured and that it increased                                the risk of

spreading infectious diseases.                   Plaintiffs contend that although

ASP knew that CIDEX did not effectively disinfect colonoscopes

when     used     in     accordance          with        ASP’s      instructions,       ASP

misrepresented         the     efficacy          of     CIDEX,      repeatedly      telling


                                                 6
        Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 7 of 14



healthcare       professionals,        including     Stephen’s    doctors,     that

CIDEX was safe and effective as a disinfectant for colonoscopes

even    though     it    was    not.       Those     healthcare   professionals,

including Stephen’s doctors, relied on ASP’s misrepresentations

in deciding to purchase and use CIDEX as a disinfectant.

                                       DISCUSSION

I.     Statute of Limitations

       ASP argues that Plaintiffs’ claims are barred, as a matter

of law, by the applicable statute of limitations.                  Georgia has a

two-year     statute     of    limitations     for    personal    injury   claims.

O.C.G.A. § 9-3-33.             A personal injury action must be brought

“within two years after the right of action accrues.”                  Id.

       ASP   asserts     that    Stephen’s     cause    of   action    accrued    in

November     2011,      when    Stephen    became      ill   shortly   after     his

colonoscopy, although Stephen was not diagnosed with HIV at that

time.    In the alternative, ASP contends that Plaintiffs’ action

accrued in July 2013, when they first tested positive for HIV.

Plaintiffs argue that their claims did not accrue until they

learned in March 2017 that Stephen may have contracted HIV after

being exposed to an infected colonoscope.

       Georgia has a discovery rule that applies in certain tort

cases: the “cause of action does not accrue so as to cause the

statute of limitations to run until a plaintiff discovers or

with reasonable diligence should have discovered that he was



                                           7
         Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 8 of 14



injured.”      Ballew v. A. H. Robins Co., 688 F.2d 1325, 1327 (11th

Cir. 1982) (quoting King v. Seitzingers, Inc., 287 S.E.2d 252,

254 (Ga. Ct. App. 1982)) (applying Georgia law).                         “Nor will a

cause of action accrue until the plaintiff knew or through the

exercise     of    reasonable       diligence     should      have    discovered      the

causal connection between the injury and the alleged negligent

conduct of the defendant.”                  Id.     Georgia courts and federal

courts     applying       Georgia     law    have    often      stated       that     this

discovery rule only applies in “continuing tort” cases.                               Id.

ASP argues that because Stephen alleges that he developed HIV

sometime after a single exposure to the HIV pathogen during his

colonoscopy, this action does not involve a “continuing tort”

and the discovery rule thus does not apply.

       Based on the Court’s review of the relevant case law, the

“continuing tort” label is used as a shorthand for “cases of

bodily injury which develop only over an extended period of

time.”      Corp. of Mercer Univ. v. Nat’l Gypsum Co., 368 S.E.2d

732,   733    (Ga.    1988)     (quoting        Lumbermen’s     Mut.    Cas.    Co.    v.

Pattillo Const. Co., 330 S.E.2d 344, 348 (Ga. 1985) (Weltner,

J., dissenting)) (overruling Lumbermen’s and holding that the

discovery rule is confined to “cases of bodily injury which

develop     only   over    an   extended        period   of   time”    and     does   not

extend to cases of property damage).                 One of the earliest cases

adopting the “continuing tort” discovery rule was a surgical


                                            8
        Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 9 of 14



malpractice case where the doctor left a surgical clamp in a

patient’s abdomen.       Parker v. Vaughan, 183 S.E.2d 605, 606 (Ga.

Ct. App. 1971).       The court noted that the wrong commenced when

the doctor left the clamp in the patient, but it was “not a

completed wrong.”        Id.       “Until somehow recognized, this wrong

existed in a suspended state of ob[l]ivion but exist it did. In

this state of limbo the statute did not run.”                    Id.    “As to this

type wrong the statute can only begin to run from the time the

patient has knowledge, or through the exercise of ordinary care

could have learned, of the existence of the continuing tort.”

Id.; see also Everhart v. Rich’s, Inc., 194 S.E.2d 425, 428 (Ga.

1972)      (observing,   in    a     product       liability     case    where     the

plaintiffs were injured by fiberglass particles that broke loose

from    their   draperies      and    the       manufacturer    did     not   provide

adequate     warnings,   that      “where        the   injury   is    occasioned    by

violent external means, the result of the previous violation of

a duty, no problem arises in fixing the date and time when the

statute begins to run,” but if “there is a breach of a duty owed

to another, e.g., the failure to warn of the existence of a

hazard capable of producing injury, and exposure to the hazard

or   the    cumulative   effects      of        continued   exposure     results   in

injury, a cause of action accrues when exposure to the hazard

first produces ascertainable injury”).




                                            9
       Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 10 of 14



       Another   seminal     Georgia      discovery       rule   case   is    King   v.

Seitzingers,     Inc.,     287   S.E.2d    252     (Ga.    Ct.   App.   1981).       In

deciding whether to adopt the discovery rule in a workplace lead

poisoning case, the Georgia Court of Appeals noted that there

are “at least four points at which a tort cause of action may

accrue: (1) When the defendant breaches his duty; (2) when the

plaintiff suffers harm; (3) when the plaintiff becomes aware of

his injury; and (4) when the plaintiff discovers the causal

relationship between his harm and the defendant’s misconduct.”

Id. at 254 (quoting Raymond v. Eli Lilly & Co., 371 A.2d 170,

172 (N.H. 1977)).          The Georgia Court of Appeals adopted the

discovery rule for cases “in which the injury and the discovery

of the causal relationship do not occur simultaneously.”                             Id.

(quoting Raymond, 371 A.2d at 174).

       The Eleventh Circuit applied Georgia’s discovery rule in a

product liability case regarding an implanted medical device.

Ballew, 688 F.2d at 1327-28.               The plaintiff’s injury did not

occur until the plaintiff developed an infection that was caused

by the device roughly six years after it was implanted.                             And,

even though the plaintiff developed the infection more than two

years before she filed her action, the Eleventh Circuit found

that    there    was   a    fact   question        on     when   the    statute      of

limitations      accrued     because       there     was     evidence        that    the

plaintiff did not know and with reasonable diligence could not


                                          10
       Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 11 of 14



have discovered the relationship between her injuries and the

device.     Id. at 1328.

       Under     the    rationale      of    Parker,       King,       and    Ballew,      the

discovery rule is intended to apply in cases like this one where

there is a problem fixing the specific date of a bodily injury

that develops over time after the event that caused the injury

occurred.      After all, the discovery rule “is designed to prevent

the    unfairness       that   would     result         from    the    running        of   the

limitations period before the plaintiff is aware of the facts

underlying her cause of action.”                   M.H.D. v. Westminster Sch.,

172 F.3d 797, 804 n.15 (11th Cir. 1999) (applying Georgia law).

This case clearly involves a bodily injury that developed “only

over an extended period of time.”                   Corp. of Mercer Univ., 368

S.E.2d at 733.          Plaintiffs allege that the unclean colonoscope

left an infectious agent in Stephen’s body that later developed

into HIV.        Stephen did not suffer an injury until he contracted

HIV weeks or months after the colonoscopy, and Plaintiffs allege

that they were not able to discover a causal connection between

the HIV infection and the colonoscopy until years later even

though     they    exercised         reasonable         diligence.            Under    these

circumstances,         the   Court    finds      that    Georgia’s       discovery         rule

applies.       Plaintiffs’ cause of action did not accrue until they

discovered “or with reasonable diligence should have discovered

that     [they    were]      injured”       and    that        there    was     a     “causal


                                            11
      Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 12 of 14



connection between the injury and the alleged negligent conduct

of the defendant.”       Ballew, 688 F.2d at 1327 (quoting King, 287

S.E.2d at 254).

      The cases cited by ASP where the discovery rule was not

applied   for   lack   of   a   “continuing    tort”   do    not   support   a

different conclusion.1       In ASP’s cases, the plaintiff suffered a

personal injury and immediately knew or should have suspected

the cause of the injury, even if he did not know the extent of

his injury or that it was caused by misconduct.                    Thus, the

discovery rule did not apply in a slip and fall case because the

“injury was ‘occasioned by violent external means,’ . . . the

statute of limitation began to run on the day his injury was

actually sustained.”        Bitterman v. Emory Univ., 333 S.E.2d 378,

379 (Ga. Ct. App. 1985) (quoting Everhart, 194 S.E.2d at 428).

The   discovery   rule      likewise    did   not   apply    in    M.H.D.    v.

Westminster Schools, a case involving sexual abuse by a teacher,

which “constituted an immediate legal injury to” the student

when it happened, although the statute of limitations was tolled

until the student reached the age of majority.              172 F.3d at 804.

1
  Quashie v. Olympus America, Inc., 315 F. Supp. 3d 1329 (N.D. Ga.
2018) does not support a different conclusion, either. In that case,
the district judge determined that a plaintiff’s claims did not accrue
when   she  underwent   a  procedure   with  an   allegedly  defective
duodenoscope.   Id. at 1339-40. Rather, her claims could not have
accrued until she became seriously ill and was hospitalized several
weeks later.   Id. at 1340.   Because the plaintiff filed her action
within two years after her injury (being hospitalized with a serious
infection), the district court did not need to examine whether the
discovery rule applied.


                                       12
      Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 13 of 14



And, the discovery rule did not apply in Bell v. C.B. Fleet

Holding      Co.,     No.    1:07-CV-84-GET,        where     the      plaintiff

“immediately became ill soon after using defendant’s [laxative]

product   and   did    not   suffer   any     continued     exposure    to     the

product.”     2008 WL 11336406, at *3 (N.D. Ga. Aug. 15, 2008);

accord Burch v. Remington Arms Co., LLC, No. 2:13-CV-00185-RWS,

2014 WL 12543887, at *3 (N.D. Ga. May 6, 2014) (declining to

apply discovery rule in a case where the plaintiff was injured

when an allegedly defective rifle discharged).               The Court is not

convinced that the rationale of these “immediate injury” cases

applies here, where Stephen did not suffer an immediate injury

following the colonoscopy.

      ASP argues that even if the discovery rule applies in this

case, the Court should find, as a matter of law, that Plaintiffs

did not exercise reasonable diligence because they should have

been able to make a connection between the colonoscopy and the

HIV   infection     based    on   a   handful       of    published    articles

suggesting a link between improperly sterilized medical devices

and   infections.       As   discussed     above,   the    Court    declines    to

consider matters outside the pleadings, such as the articles, in

ruling on ASP’s motion to dismiss.              Furthermore, the question

whether Plaintiffs knew or with reasonable diligence should have

discovered    the   causal    connection     between      their    injuries    and

ASP’s alleged misconduct is generally a matter of fact for the


                                      13
        Case 3:18-cv-00066-CDL Document 37 Filed 12/11/18 Page 14 of 14



jury.     See King, 287 S.E.2d at 255.            Plaintiffs allege that they

did not discover and could not have discovered with reasonable

diligence     the    causal     connection     between    the    colonoscope      and

their HIV infection until March 2017.                 They filed this action

within two years of that date, so their action is timely.

II.   Fraud Claims

      ASP asserts that Plaintiffs’ fraudulent misrepresentation

and     fraudulent        concealment   claims     should   be     dismissed      for

failure to comply with the heightened pleading requirements of

Federal     Rule     of     Civil   Procedure     9(b).     This       argument     is

unpersuasive.       Plaintiffs      sufficiently     stated      the    facts     upon

which their fraud claims are based.                If Plaintiffs prove those

facts, Plaintiffs will have established the essential elements

of a fraud claim under Georgia law.                Accordingly, ASP’s motion

to dismiss the fraud claims pursuant to Rule 9(b) is denied.

                                     CONCLUSION

      For the reasons set forth above, ASP’s motion to dismiss

(ECF No. 18) and motion for judicial notice (ECF No. 19) are

denied.

      IT IS SO ORDERED, this 11th day of December, 2018.

                                              S/Clay D. Land
                                              CLAY D. LAND
                                              CHIEF U.S. DISTRICT COURT JUDGE
                                              MIDDLE DISTRICT OF GEORGIA




                                         14
